16-13607-smb     Doc 69     Filed 03/03/17    Entered 03/03/17 16:01:55        Main Document
                                             Pg 1 of 5



UNITED STATES BANKRUPTCY COURT                              HEARING DATE: March 7, 2017
SOUTHERN DISTRICT OF NEW YORK                               HEARING TIME: 10:00 a.m.
----------------------------------------------------------x
                                                          :
In re                                                     :  Case No.     16-13607 (MKV)
                                                          :
Wonderwork, Inc.,                                         :  (Chapter 11)
                                                          :
                                       Debtor.            :
                                                          :
----------------------------------------------------------x

                  OBJECTION OF UNITED STATES TRUSTEE TO
             (1) DEBTOR’S MOTION FOR ENTRY OF INTERIM AND
            FINAL ORDERS (I) AUTHORIZING THE DEBTOR TO (A)
           CONTINUE EXISTING CASH MANAGEMENT SYSTEM, (B)
                 HONOR CERTAIN PREPETITION OBLIGATIONS
              RELATED THERETO, AND (C) MAINTAIN BUSINESS
                  FORMS AND EXISTING BANK ACCOUNTS; (II)
           EXTENDING TIME TO COMPLY WITH 11 U.S.C. SECTION
            345 (b) AND (III) GRANTING RELATED RELIEF; AND (2)
           DEBTOR’S MOTION FOR ORDER PURSUANT TO 11 U.S.C.
            § 345(b) AUTHORIZING AND APPROVING CONTINUED
                      USE OF EXISTING BANK ACCOUNTS


To:   HONORABLE STUART M. BERNSTEIN
      UNITED STATES BANKRUPTCY JUDGE:

       William K. Harrington, the United States Trustee for Region 2 (the “United States

Trustee”), hereby submits this objection to (1) the Debtor’s Motion for Entry of Interim and Final

Orders (I) Authorizing the Debtor to (A) Continue Existing Cash Management System, (B)

Honor Certain Prepetition Obligations Related Thereto, and (C) Maintain Business Forms and

Existing Bank Accounts; (II) Extending Time to Comply with 11 U.S.C. Section 345 (b) and (III)

Granting Related Relief (the “Motion”)(ECF Doc. No. 4) and (2) the Debtor’s Motion For Order

Pursuant To 11 U.S.C. § 345(b) Authorizing And Approving Continued Use Of Existing Bank

Accounts (the “345 Motion” and together with the Motion, the “Motions”)(ECF Doc. No. 30).
16-13607-smb      Doc 69     Filed 03/03/17     Entered 03/03/17 16:01:55          Main Document
                                               Pg 2 of 5



In support thereof, the United States Trustee respectfully states:

                               I.   PRELIMINARY STATEMENT

       Section 345(b) of title 11, United States Code (the “Bankruptcy Code”) was promulgated

to protect all creditors of bankrupt entities against the loss of estate funds deposited or invested

by debtors. The United States Trustee objects to the Motions to the extent that the Debtor seeks

a waiver of the requirements under Section 345(b). The Debtor and the United States Trustee

have attempted to determine whether the funds in its money market Vanguard Account (as

defined below) could be brought into compliance with the requirements of Section 345(b) of the

Bankruptcy Code. At this time, the Debtor seeks a waiver of the Section 345 requirements with

respect to its Vanguard Account containing approximately $18.3 million of “restricted” and

unrestricted funds. The United States Trustee objects to the waiver sought on the basis that the

Debtor has not established the requisite cause mandated by Section 345(b) and, has not identified

any authority for the proposition that “restricted funds” are not subject to Section 345(b).

                                      II.   BACKGROUND

       A.    General Background

       1.      On December 29, 2016 (the “Petition Date”), WonderWork, Inc. (“WonderWork”

or “Debtor”) filed a petition for relief under chapter 11, title 11, United States Code (the

“Bankruptcy Code”). ECF Doc. No. 1.

       2.      WonderWork was founded in November 2010 to help provide life-changing

surgeries for children and adults who are blind, severely burned or crippled with clubfoot.

Instead of sending American doctors on missions, WonderWork empowers local doctors through

financial aid, free training and free equipment. WonderWork has 61 partners in 42 countries

                                                     2
16-13607-smb      Doc 69     Filed 03/03/17    Entered 03/03/17 16:01:55          Main Document
                                              Pg 3 of 5



worldwide and worked to provide more than 130,000 surgeries for children and adults during

2016. Declaration of Brian Mullaney; ¶ 7. ECF Doc. No. 2.

         3.     WonderWork maintains four noninterest-bearing accounts held by HSBC Bank,

N.A. (the “HSBC Accounts”), four noninterest bearing accounts held by PayPal (the “PayPal

Accounts”), and a money market account at Vanguard managed by the Debtor (the “Vanguard

Account”). ECF Doc. No. 2; ¶ 8.

         4.     Undetermined portions of the funds in the various accounts are “Restricted

Funds” to be used for the purpose designated by the donor. Motion, ¶ 33, pp. 13-4; ECF Doc.

No. 4.

         5.     As of January 31, 2017, the balance in the Vanguard Account was approximately

$18,300,392.82. ECF Doc. No. 65, p. 55.

         6.     Attempts by the United States Trustee to bring the funds in the Vanguard Account

into compliance with Section 345 have not been successful.

         7.     Based on the foregoing, the United States Trustee understands that the Debtor is

seeking a waiver of the funds held in the Vanguard Account, which currently contains

approximately $18.3 million.

                                       III.   OBJECTION

         A.    The Statutory Standard

         Bankruptcy Code Section 345(b) provides that money of the estate shall be insured or

guaranteed by the United States or by a department, agency or instrumentality of the United

States or backed by the full faith and credit of the United States.   11 U.S.C. ' 345(b).   Money

of the estate may also be deposited in an entity that has posted a bond in favor of the United

                                                    3
16-13607-smb      Doc 69      Filed 03/03/17    Entered 03/03/17 16:01:55           Main Document
                                               Pg 4 of 5



States or has deposited securities with the Federal Reserve Bank in an account maintained by the

United States Trustee Id.      A court may waive the requirements of Section 345 upon the

showing of “cause.” Id.

        B.     The Debtors Have Not Established Cause

        The Debtor’s 345 Motion requests that the Court authorize the Debtor to continue to use

and maintain the Vanguard Account. The United States Trustee maintains that the Vanguard

Account does not comply with Section 345 of the Bankruptcy Code. The Debtor has not

provided evidence to support a finding that cause exists for the waiver of the requirements of

Section 345 of the Bankruptcy Code. Because the Debtor has not demonstrated cause for a

waiver of the requirements set forth in Section 345, the United States Trustee respectfully objects

to the Debtor’s Motion to the extent it seeks entry of a Final Order waiving the requirements of

Section 345.

        The Debtor argues that Restricted Funds are not subject to Section 345, that the cost

associated with satisfying the requirements of Section 345(b) would be burdensome, and that the

process of satisfying those requirements would lead to needless inefficiencies in the management

of Republic’s business. Motion, at ¶ 35 and 345 Motion. The Motion identifies no support for

the argument that Restricted Funds (that have not been fully identified) are not subject to Section

345. The remaining arguments that the requirements of Section 345 are burdensome and

inefficient are available to virtually every debtor, and, if sufficient to establish cause in every

case, would render the protections contemplated by Section 345 totally ineffective.




                                                     4
16-13607-smb     Doc 69     Filed 03/03/17    Entered 03/03/17 16:01:55           Main Document
                                             Pg 5 of 5



        WHEREFORE, the United States Trustee respectfully requests that the Court deny the

Motions and grant such other and further relief as the Court deems appropriate.

Dated: New York, New York
       March 3, 2017

                                             Respectfully Submitted,

                                             WILLIAM K. HARRINGTON
                                             UNITED STATES TRUSTEE


                                     By:     /s/ Brian S. Masumoto
                                             Brian S. Masumoto
                                             Trial Attorney
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